      Case 1:17-cv-00807-WHA-SMD Document 15 Filed 01/05/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

CARL B. KENNEDY, #283943,                     )
                                              )
              Petitioner,                     )
                                              )
v.                                            )   CIVIL ACTION NO. 1:17cv807-WHA
                                              )   (wo)
KARLA WALKER JONES, et al.,                   )
                                              )
              Respondents.                    )


                                     FINAL JUDGMENT

       In accordance with the Memorandum Opinion and Order entered in this case on this day,

       Final Judgment is entered in favor of the Respondents and against the Petitioner, and this

case is DISMISSED with prejudice.

       The Clerk of the Court is DIRECTED to enter this document on the civil docket as a final

judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.


       Done this 5th day of January, 2021.

                                             /s/ W. Harold Albritton
                                             W. HAROLD ALBRITTON
                                             SENIOR UNITED STATES DISTRICT JUDGE
